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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Central States Southeast And Southwest Areas
Pension Fund, et al.
                                                     Plaintiff,
v.                                                                Case No.: 1:20−cv−05513
                                                                  Honorable Charles P.
                                                                  Kocoras
GILMER TRUCKING, LLC
                                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 20, 2022:


        MINUTE entry before the Honorable Charles P. Kocoras: Telephonic status
hearing held and continued to 3/22/2022 at 9:50 a.m. For the telephonic status hearing,
parties are to use the following call−in number: (888) 684 8852, conference code
8819984. Counsel of record will receive an email the morning of the telephonic hearing
with instructions to join the call. COUNSEL MUST TYPE IN THEIR NAME WHEN
JOINING THE CALL. Mailed notice(vcf, )




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